 1   Grant L. Cartwright, Esq. (AZ SBN 030780)
     MAY, POTENZA, BARAN & GILLESPIE, P.C.
 2   201 North Central Avenue, 22nd Floor
     Phoenix, AZ 85004-0608
 3   Telephone:    (602) 252-1900
     Facsimile:    (602) 252-1114
 4   Email: gcartwright@maypotenza.com

 5   Counsel for Amazon Capital Services, Inc.
     and Amazon Services, LLC
 6
 7                             UNITED STATES BANKRUPTCY COURT

 8                                      DISTRICT OF ARIZONA
 9   In re:                                              Chapter 7
10   VALLEY FURNITURE LIQUIDATORS, INC.,                 Case No. 2:18-bk-03982-BKM
11
                                                         STIPULATION TO CONTINUE RULE 2004
12                                 Debtor.               EXAMINATION OF DEBTOR

13
              This stipulation (the “Stipulation) is entered into between Amazon Capital Services, Inc.
14
     (“ACS”) and Amazon Services, LLC (“Amazon Services” and together with ACS “Amazon”),
15
     and Debtor Valley Furniture Liquidators, Inc. (“Valley Furniture,” and together with Amazon,
16
     the “Parties”) pursuant to Local Rule 9071-1 for an order amending the Court’s order entered on
17
     August 15, 2018 (ECF No. 60) by continuing the deadline for Valley Furniture to produce
18
     documents and the date for Valley Furniture to appear for a Bankruptcy Rule 2004 examination.
19
     This Stipulation is made with reference to the following facts:
20
     I.       BACKGROUND
21
              A.     Todd Stevenson is the sole owner and President of Valley Furniture.
22
              B.     Valley Furniture filed a voluntary petition under chapter 7 of the Bankruptcy Code
23
     on April 16, 2018.
24
              C.     Two months later, on June 15, 2018, Mr. Stevenson also filed a voluntary petition
25
     under chapter 7 of the Bankruptcy Code. See Case No. 2:18-bk-06980-MCW.
26
              D.     On July 19, 2018, Amazon filed proofs of claim against Valley Furniture. See
27
     Claim Nos. 34 and 35.
28
              E.     On August 14, 2018, Amazon filed an Ex Parte Motion of Creditors’ Amazon

    Capital Services, Inc. and Amazon Services, LLC for an Order (I) Directing the Production of
 Case 2:18-bk-03982-BKM Doc 72 Filed 09/18/18 Entered 09/18/18 16:09:31 Desc
                               Main Document      Page 1 of 6
 1   Documents and (II) Authorizing the Examination of a Representative of Valley Furniture
 2
     Liquidators, Inc. Pursuant to Bankruptcy Rule 2004 (the “Bankruptcy Rule 2004 Application”).
 3   See ECF No. 58. The Court granted Amazon’s Bankruptcy Rule 2004 Application. See ECF
 4   No. 60.
 5             F.   Pursuant to the Court’s order granting the Bankruptcy Rule 2004 Application,
 6   Valley Furniture is required to produce documents requested by Amazon within twenty-one (21)
 7   days from the date of the order (i.e. no later than September 5, 2018), and appear for the Rule
 8   2004 examination within seven (7) days from the date the documents are produced, or on a date
 9   mutually agreed upon by the Parties. See ECF No. 60. Amazon requested the Rule 2004
10   examination for Valley Furniture be scheduled for September 10, 2018.
11
               G.   Valley Furniture’s bankruptcy counselwhich is the same counsel for Mr.
12
     Stevensoninformed counsel for Amazon that Mr. Stevenson, who would be the representative
13   of Valley Furniture for the examination, is not available on September 10, 2018, and requested the
14   examination be rescheduled. In exchange for delaying the Rule 2004 examination, Mr. Stevenson
15   agreed to extend the deadline for Amazon to file a dischargeability action in Mr. Stevenson’s
16   bankruptcy case.
17             H.   On August 29, 2018, the Parties filed a stipulation in Mr. Stevenson’s bankruptcy
18   case to extend the deadline for Amazon to object to Mr. Stevenson’s discharge. See Case No.
19   2:18-bk-06980, ECF No. 27. As part of that stipulation, the Parties agreed to reschedule the
20   Rule 2004 examination of Valley Furniture, and continue the deadline for Valley Furniture to
21   produce documents pursuant to the Court’s order entered on August 15, 2018 (ECF No. 60) upon
22   entry of an order extending the deadline for Amazon to object to Mr. Stevenson’s discharge for at
23   least 90 days from the current deadline without prejudice to Amazon (or the Parties) filing another
24   extension request. See id.
25             I.   On August 30, 2018, the Court entered an order in Mr. Stevenson’s bankruptcy
26   case approving the Parties stipulation and extending the deadline for Amazon to object to Mr.
27
28
                                                     2
Case 2:18-bk-03982-BKM            Doc 72 Filed 09/18/18 Entered 09/18/18 16:09:31             Desc
                                  Main Document    Page 2 of 6
 1   Stevenson’s discharge under sections 523 and 727 of the Bankruptcy Code to December 21, 2018.
 2   See Case No. 2:18-bk-06980, ECF No. 28.
 3          J.     Accordingly, the Parties enter into this Stipulation, and request the Court approve
 4   the Stipulation amending its order entered on August 15, 2018 (ECF No. 60) by continuing the
 5   deadline for Valley Furniture to produce documents to October 10, 2018, and continuing
 6   Amazon’s Bankruptcy Rule 2004 examination of Valley Furniture to October 24, 2018.
 7
     II.    STIPULATION
 8          NOW, THEREFORE, the Parties hereby agree and stipulate as follows:
 9
            1.     The deadline for Valley Furniture to produce documents listed in Exhibit A
10   attached hereto shall be extended to October 10, 2018.
11          2.     Valley Furniture shall appear for an examination under oath pursuant to
12   Bankruptcy Rule 2004 on October 24, 2018, or on an alternative date mutually agreed upon by the
13   parties, should the examination need to be rescheduled.
14          3.     This Stipulation shall not preclude Amazon (or the Parties) to seek another
15   extension from the Court.
16
            RESPECTFULLY SUBMITTED September 18, 2018.
17
18                                            MAY, POTENZA, BARAN & GILLESPIE, P.C.

19
                                              By s/ Grant L. Cartwright
20                                                  Grant L. Cartwright (AZ SBN 030780)
21                                            201 North Central Avenue, 22nd Floor
                                              Phoenix, AZ 85004-0608
22                                            Telephone: (602) 252-1900
                                              Facsimile: (602) 252-1114
23                                            Email: gcartwright@maypotenza.com
24                                            Counsel for Amazon Capital Services, Inc. and Amazon
                                              Services, LLC
25
26
27
28
                                                     3
Case 2:18-bk-03982-BKM           Doc 72 Filed 09/18/18 Entered 09/18/18 16:09:31            Desc
                                 Main Document    Page 3 of 6
 1
                                     SACKS TIERNEY P.A.
 2
 3                                   By s/ Randy Nussbaum with permission
                                           Randy Nussbaum (AZ SBN 006417)
 4
                                     4250 N. Drinkwater Blvd., 4th Floor
 5                                   Scottsdale, AZ 85251-3693
                                     Telephone: (480) 425-2600
 6                                   Facsimile: (480) 970-4610
                                     Email: randy.nussbaum@sackstierney.com
 7
                                     Special Counsel for Valley Furniture Liquidators, Inc.
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                           4
Case 2:18-bk-03982-BKM   Doc 72 Filed 09/18/18 Entered 09/18/18 16:09:31           Desc
                         Main Document    Page 4 of 6
 1
     COPY of the foregoing mailed or emailed*
 2   on September 18, 2018, to:

 3   Allan Newdelman
     Allan D. Newdelman, PC
 4   80 E. Columbus Avenue
 5   Phoenix, Arizona 85012
     Email: anewdelman@adnlaw.net
 6   Counsel for Debtor Valley Furniture Liquidators, Inc.
 7   Randy Nussbaum
 8   Sacks Tierney, P.A.
     4250 N. Drinkwater Blvd, 4th Floor
 9   Scottsdale, Arizona 85251
10   Email: randy.nussbaum@sackstierney.com
     Counsel for Debtor Valley Furniture Liquidators, Inc.
11
     Dale D. Ulrich
12   1934 East Camelback Road, Suite 120-615
13   Phoenix, Arizona 85016
     Chapter 7 Trustee
14
15   Terry A. Dake
     Terry A. Dake, LTD
16   20 East Thomas Road, Ste. 2200
     Phoenix, Arizona 85012-3133
17   Email: tdake@cox.net
18   Counsel for Chapter 7 Trustee

19   U.S. Trustee
     U.S. TRUSTEE
20
     Office of the U.S. Trustee
21   230 North First Avenue
     Suite 204
22   Phoenix, AZ 85003
23
     Ryan J. Bird
24   Gilbert Bird Law Firm, P.C.
     10575 North 114th Street, Suite 115
25
     Scottsdale, Arizona 85259
26   Email: rbird@gilbertbirdlaw.com
27
28
                                                5
Case 2:18-bk-03982-BKM        Doc 72 Filed 09/18/18 Entered 09/18/18 16:09:31   Desc
                              Main Document    Page 5 of 6
 1
     TN Dept of Revenue
 2   c/oTN Attorney General's Office, Bankruptcy Division
     PO Box 20207
 3   Nashville, Tennessee 37202-0207
 4
     Jay W. Hurst
 5   Assistant Attorney General
     c/o Sherri K. Simpson, Paralegal
 6   Attorney General's Office
 7   Bankruptcy & Collections Division
     P.O. Box 12548
 8   Austin, TX 78711-2548
 9   Email: bk-jhurst@oag.texas.gov
     sherri.simpson@oag.texas.gov
10
     s/ Elizabeth Luna
11   Elizabeth Luna
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28                                             6
Case 2:18-bk-03982-BKM      Doc 72 Filed 09/18/18 Entered 09/18/18 16:09:31   Desc
                            Main Document    Page 6 of 6
